Case 5:24-cv-02058-KK-SP       Document 17    Filed 12/18/24   Page 1 of 3 Page ID #:78




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5
     Attorney for Plaintiff
6
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8
9
10                            UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
13   LINDSY SAARLOOS, individually and                Case No. 5:24-cv-02058-KK-SP
     on behalf of all others similarly situated,
14                                                    NOTICE OF SETTLEMENT
                              Plaintiff,
15
16         v.

17   THE COWBOY CHANNEL, LLC,
18                            Defendant.
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     NOTICE OF SETTLEMENT
     CASE NO. 5:24-cv-02058-KK-SP
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1          NOTICE IS HEREBY GIVEN pursuant to Local Rule 40-2 that in the
2    aforementioned matter, Saarloos v. The Cowboy Channel, LLC, Case No. 5:24-cv-
3    02058, the parties have agreed to the material terms of a class settlement. Plaintiff
4    Saarloos will file a motion for preliminary approval and finalize the settlement
5    agreement on or before February 1, 2025.
6
7    Dated: December 18, 2024               Respectfully submitted,
8                                           BURSOR & FISHER, P.A.
9
                                            By:    /s/ Brittany S. Scott
10                                                    Brittany S. Scott
11                                          Brittany S. Scott (State Bar No. 327132)
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16
17                                          BAKER & HOSTETLER LLP
18
     Dated: December 18, 2024               By:    /s/ Teresa C. Chow
19                                                    Teresa C. Chow
20
                                            Teresa C. Chow (SBN 237694)
21                                          1900 Avenue of the Stars, Suite 2700
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     NOTICE OF SETTLEMENT                                                                1
     CASE NO. 5:24-cv-02058-KK-SP
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1
                               SIGNATURE ATTESTATION
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           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all signatories listed
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     above, on whose behalf this stipulation is submitted, concur in the filing’s content and
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     have authorized the filing.
5
                                             /s/ Brittany S. Scott
6                                                Brittany S. Scott
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     NOTICE OF SETTLEMENT                                                                   2
     CASE NO. 5:24-cv-02058-KK-SP
